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                                          13                        UNITED STATES DISTRICT COURT
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                                          14                         CENTRAL DISTRICT OF CALIFORNIA

                                          15                                       WESTERN DIVISION

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                                          17 ALS SCAN, INC.,                                 Case No.: 2:16-cv-05051-GW-AFM
                                          18                    Plaintiff,                   REPLY BRIEF IN SUPPORT OF
                                                                                             DEFENDANT CLOUDFLARE,
                                          19         v.                                      INC.’S MOTION FOR
                                          20                                                 CLARIFICATION OF MARCH 13,
                                               CLOUDFLARE, INC., et al.,                     2018 ORDER, AMENDMENT TO
                                          21                                                 CERTIFY ORDER FOR
                                                                Defendants.                  INTERLOCUTORY APPEAL,
                                          22                                                 AND STAY OF PROCEEDINGS
                                                                                             PENDING APPEAL
                                          23
                                          24                                                 Date:         April 12, 2018
                                                                                             Time:         8:30 AM
                                          25                                                 Judge:        Hon. George H. Wu
                                                                                             Trial Date:   April 24, 2018
                                          26
                                          27
                                          28

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                                           1 I.      ALS’S OPPOSITION FURTHER DEMONSTRATES WHY
                                           2         CERTIFICATION OF INTERLOCUTORY APPEAL IS PROPER.
                                           3         ALS’s opposition states the following: “Cloudflare teases out differences in
                                           4 wor[d]ing among various Ninth Circuit cases on standards for contribution to
                                           5 infringement, none involving sharp disagreements, and asks that trial be halted while
                                           6 the parties seek what amounts to an appellate conference on only one potentially
                                           7 disputed jury instruction, on the standards for contributory infringement.” (Dkt 452
                                           8 at 1.) ALS is wrong on every front. Disagreement among the rival standards is
                                           9 indeed very sharp. If ALS denies that, perhaps it will now consent to Cloudflare’s
                                          10 jury instructions that accurately state the law from the Amazon.com-Giganews line
                                          11 of cases rather than the Fonovisa-Louis Vuitton line of cases.
                                          12         Nor can one jury instruction contain all the differences. The disagreements
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                                          13 concern four different controlling points:
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                                          14         1.     whether the Amazon.com-Giganews standard is mandatory in cases on
                                          15                a “material contribution” theory against computer service operators, or
                                          16                whether alternatives with different meanings coexist under the
                                          17                Fonovisa-Louis Vuitton line of cases;
                                          18         2.     whether actual knowledge of specific infringements is an element of
                                          19                contributory infringement, as under Perfect 10, Inc., v. Amazon.com,
                                          20                Inc., 508 F.3d 1146 (9th Cir. 2007); Luvdarts, LLC v. AT&T Mobility,
                                          21                LLC, 710 F.3d 1068 (9th Cir. 2013); and Perfect 10, Inc. v. Giganews,
                                          22                Inc., 847 F.3d 657 (9th Cir. 2017), or whether “constructive” (i.e., not
                                          23                actual) knowledge is a substitute under Ellison v. Robertson, 357 F.3d
                                          24                1072 (9th Cir. 2004);
                                          25         3.     whether “substantial assistance” is merely a threshold issue, as in
                                          26                Amazon.com, or instead the entire inquiry under Louis Vuitton
                                          27                Malletier, S.A. v. Akanoc Solutions, Inc., 658 F.3d 936 (9th Cir. 2011)
                                          28                (and whether, if that is the standard, it requires proof that the defendant

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                                           1                 is an “essential step in the infringement process,” which ALS regularly
                                           2                 fails to discuss in connection with Louis Vuitton); and
                                           3         4.      whether termination of an entire business relationship is mandatory as
                                           4                 a “simple measure” within the meaning of Amazon.com.
                                           5         ALS’s thin opposition fails candidly to acknowledge or explore these points.
                                           6 Instead it cherry picks inapposite portions of different cases to gloss over their
                                           7 substance and points to distracting irrelevancies. A clear-eyed view of this Court’s
                                           8 discussions of Ninth Circuit precedents shows that interlocutory review would
                                           9 bring clarity to numerous points that this Court has described as unclear, uncertain,
                                          10 or evolving or as to which this Court has otherwise exposed unclarity in the law.
                                          11         A.      ALS Concedes Unclarity Regarding the Amazon.com-Giganews
                                          12                 Standard.
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                                          13         To begin with, ALS acknowledges inconsistency among Ninth Circuit
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                                          14 standards for contributory infringement. Its own earlier briefing on summary
                                          15 judgment stressed the inconsistency:
                                          16              The degree to which a copyright plaintiff must show failure to
                                          17              take “simple measures” to prove contributory infringement is not
                                          18              clear. Some cases say this. However, some do not. See Louis
                                          19              Vuitton, supra, 658 F.3d at 933-34. This phrase has not made its
                                          20              way into the pattern instruction. 9th Cir. Manual of Model Civil
                                          21              Jury Instr. No. 17.21.
                                          22 ALS Opposition to Cloudflare Motion for Summary Judgment (Dkt. 370) at 22
                                          23 (emphasis added).
                                          24         As Cloudflare pointed out in its opening brief, this Court has stated “it is
                                          25 unclear that [the three requirements of Amazon.com-Giganews] are required to find
                                          26 contributory infringement on a material contribution theory in the internet age.”
                                          27 (Opening brief at 5, citing Order at 12 emphasis in original). The official Comment
                                          28 to the Ninth Circuit Model Jury Instruction applies the Amazon.com-Giganews

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                                           1 standard precisely to computer system operators and adapted the contributory
                                           2 infringement standard to the internet age. Yet ALS keeps harking back to Fonovisa
                                           3 and that case’s reliance on Gershwin for the traditional formulation that it promotes.
                                           4 Fonovisa and Gershwin were pre-Internet age, brick-and-mortar cases, exactly the
                                           5 line of cases that the Ninth Circuit discouraged reliance on in Visa.
                                           6         ALS claims that there are “no sharp disagreements regarding the standards
                                           7 for contributory infringement.” But ALS vigorously resists using the Amazon.com-
                                           8 Giganews standards, while promoting the use of very different standards under
                                           9 Fonovisa-Louis Vuitton. ALS’s references to the model jury instruction in its
                                          10 opposition and its own jury instruction proposal fail to acknowledge the important
                                          11 official comment to Ninth Circuit Model Jury Instruction 12.71: “In the online
                                          12 context, a computer system operator may be liable under a material contribution
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                                          13 theory if the operator has actual knowledge of specific infringement, can take
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                                          14 simple measures to prevent further infringement, and yet fails to do so. See Perfect
                                          15 10, Inc. v. Giganews, Inc., 847 F.3d 657, 671 (9th Cir. 2017).” That comment calls
                                          16 for a different jury instruction from the default when the case involves computer
                                          17 system operators like Cloudflare.
                                          18         Amazon.com reshaped the standard of contributory infringement for
                                          19 computer system operators after the Supreme Court’s decision in Metro-Goldwyn-
                                          20 Mayer Studios, Inc., v. Grokster, Ltd., 545 U.S. 913 (2005); most recently the Ninth
                                          21 Circuit in Giganews ratified the Amazon.com standard. The Ninth Circuit in
                                          22 Perfect 10, Inc. v. Visa Int’l Serv. Ass’n, 494 F.3d 788, 798 n.9 (9th Cir. 2007),
                                          23 counseled courts to follow newer online cases and Supreme Court precedents,
                                          24 unmistakably pointing to the Ninth Circuit’s decision in Amazon.com and the
                                          25 Supreme Court’s decision Grokster as the new landmarks. Thus the Ninth Circuit
                                          26 has moved away from the Fonovisa flea market approach that had relied on the
                                          27 Second Circuit’s concert promoter decision in Gershwin.
                                          28

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                                           1             The Western District of Washington accurately perceived the incompatibility
                                           2 between the Fonovisa-Louis Vuitton standards and the Amazon.com-Giganews
                                           3 standards, and it rejected the Fonovisa-Louis Vuitton standard. See VHT, Inc. v.
                                           4 Zillow Grp., No. 15-cv-1096-JLR, 2017 WL 2654583, at *16 (W.D. Wash. June 20,
                                           5 2017). That court was right to do so, given the rule of primacy of a panel’s opinion
                                           6 until an en banc ruling or an intervening Supreme Court decision changes the
                                           7 landscape. See U.S. v. Gay, 967 F.2d 322, 327 (9th Cir. 1992). If this Court does
                                           8 not believe that the correct standards are under Amazon.com-Giganews rather than
                                           9 under Fonovisa-Louis Vuitton, then it would benefit from clarification by the Ninth
                                          10 Circuit before trial.
                                          11             B.     ALS’s Position on Constructive Knowledge Underscores the Need
                                          12                    for Clarification.
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                                          13             ALS contests Cloudflare’s view of the knowledge requirement for
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                                          14 contributory infringement under a “material contribution” theory. More “sharp
                                          15 disagreement” is thus evident, not just between the parties but also between rival
                                          16 legal traditions. ALS ignores that three major decisions of the Ninth Circuit have
                                          17 stressed the need for actual knowledge of specific infringements by italicizing the
                                          18 key words for emphasis. See Giganews, 847 F.3d at 671; Amazon.com, 508 F.3d at
                                          19 1172; A & M Records, Inc., v. Napster, 239 F.3d 1004, 1022 (9th Cir. 2002). ALS
                                          20 blindly argues that the court has not clearly required “actual” knowledge by finding
                                          21 one instance where a court’s ruling did not reach the knowledge question.
                                          22             This point is important because ALS strives to avoid an actual knowledge
                                          23 standard. And note how hard ALS fights the issue. There is indeed a substantial
                                          24 difference of opinion, with ALS clinging to the pre-Grokster decision1 in Ellison,
                                          25
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                                              In reviewing Ninth Circuit jurisprudence, the Fourth Circuit noted how, after
                                          26 Grokster, the Ninth Circuit clarified its law to require actual knowledge, citing
                                          27 Luvdarts (ironically the one major Ninth Circuit decision that did not italicize
                                             actual knowledge). See BMG Rights Mgmt. (US) v. Cox Commc’ns, Inc., 881 F.3d
                                          28 293, 310 (4th Cir. 2018).

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                                           1 betraying that the issue is controlling. And the failure to obtain clarification of the
                                           2 knowledge standard before instructing the jury can lead to tremendous consumption
                                           3 of judicial and party resources, as the parties and district court have seen in the
                                           4 Fourth Circuit’s reversal and remand after a lengthy jury trial in BMG Right
                                           5 Management (US) LLC v. Cox Communications Inc., 881 F. 3d 293 (4th Cir. 2018)
                                           6 (remanding for new trial because of the trial court’s use of a “should have known”
                                           7 standard).
                                           8          C.     ALS Fails to Address the Important Question of “Substantial
                                           9                 Assistance.”
                                          10          ALS’s opposition entirely dodges the important question of whether
                                          11 “substantial assistance” is a threshold question, as in Amazon.com, or is the entire
                                          12 inquiry, as it argues with respect to Louis Vuitton. This is hugely important. In
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                                          13 Amazon.com, the Ninth Circuit ruled that Google had engaged in substantial
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                                          14 assistance, but it treated that as the beginning of the inquiry, which then sets up an
                                          15 evaluation of whether there are actual knowledge of specific infringements and a
                                          16 failure to take simple measures to prevent further damage to copyrighted works.
                                          17 See Amazon.com, 508 F.3d at 1172. In Louis Vuitton, the Ninth Circuit stopped
                                          18 with the conclusion that the key defendant had provided “substantial assistance” by
                                          19 being an “essential step in the process of infringement.” 658 F.3d at 944. Notably
                                          20 ALS does not appear to invest here in an “essential step” argument, which would
                                          21 flow from the holding in Louis Vuitton, because Cloudflare is emphatically not an
                                          22 essential step in the infringing activities of its customers (which ALS primarily
                                          23 charges with “distribution” and “public display” of its works).
                                          24          Again, the contrast between Amazon.com and Louis Vuitton on this point is
                                          25 fundamental, as the Western District of Washington observed. Moreover, as
                                          26 Cloudflare has previously pointed out, Louis Vuitton adopted a standard that the
                                          27 Ninth Circuit had rejected in Visa. Compare Louis Vuitton, 658 F.3d at 944
                                          28 (quoting Judge Kozinski’s dissent in Visa proposing an “essential step” standard,

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                                           1 494 F.3d at 812), with Visa, 494 F.3d at 797 n.6 and 800 n.11 (rejecting Judge
                                           2 Kozinski’s “essential step” proposal). The controlling nature of this point also is
                                           3 evident in the vigor with which ALS resists Cloudflare’s jury instructions. If the
                                           4 Court is inclined to consider an instruction resting on Louis Vuitton, it would profit
                                           5 from immediate guidance from the Ninth Circuit.
                                           6          D.     ALS Fails to Address the Question of Whether Termination of a
                                           7                 Business Relationship is Necessary as a Simple Measure.
                                           8          ALS did not address this issue at all. Normally that would obviate the point
                                           9 of a reply, but Cloudflare believes the Court’s recent opinion regarding Steadfast
                                          10 has highlighted a profound conflict between a potential rule that a service provider
                                          11 must terminate all service to a customer as a “simple measure” and important
                                          12 principles that the Supreme Court discussed in Sony. In that decision, which
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                                          13 addressed whether a copyright holder could thwart a technology with mixed
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                                          14 infringing and noninfringing uses, the Court was concerned about foreclosing
                                          15 lawful uses through a blanket ban on technology. It referred to specifically to
                                          16 regulation of products or activities that make . . . duplication possible. Sony Corp.
                                          17 of Am. v. Universal City Studios, Inc., 464 U.S. 417, 442 (1984). It applied the
                                          18 “staple article of commerce” doctrine from patent law to strike a balance between a
                                          19 copyright holder’s legitimate demand for effective copyright protection and the
                                          20 rights of others freely to engage in substantially unrelated areas of commerce. To
                                          21 strike that balance, the Court ruled there that “the sale of copying equipment . . .
                                          22 does not constitute contributory infringement if the product is widely used for
                                          23 legitimate, unobjectionable purposes. Indeed, it need merely be capable of
                                          24 substantial noninfringing uses.” Id. While the Court’s conclusion specifically
                                          25 referred to “equipment,” the reference to “products or activities that make . . .
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                                            1 duplication possible” shows that the principle applies to services as well as
                                            2 products. Id.
                                            3         Here, termination of all service to a customer engaging in (or even merely
                                            4 capable of) substantial noninfringing uses would violate the balance that the Court
                                            5 established. If termination of a customer—not as part of implementation of a
                                            6 voluntary repeat infringer termination policy to meet a safe-harbor condition but as
                                            7 a requirement to avoid contributory infringement liability—is necessary, profound
                                            8 questions of overenforcement arise, particularly where, as here, the customers are
                                            9 all service providers to others and have a wide range of materials other than those
                                           10 that allegedly infringe upon ALS’s copyrights. Moreover, the “simple measures”
                                           11 standard incorporates the requirement of actual knowledge of specific
                                           12 infringements, suggesting that simple measures must target specific activities.
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                                           13 II.     INTERLOCUTORY APPEAL MAY MATERIALLY ADVANCE
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                                           14         ULTIMATE TERMINATION OF THE LITIGATION.
                                           15         The key word in the standard is “ultimate.” ALS no doubt wants to race to
                                           16 trial with a host of dangerous and flawed jury instructions, but it provides no
                                           17 reasoned basis for doing so. The experience of the district court in BMG is
                                           18 instructive. Again, on just one of the issues present here—actual or constructive
                                           19 knowledge—the Fourth Circuit vacated the judgment and remanded the case for a
                                           20 new trial. See BMG, 881 F.3d at 310-11. ALS refers to, without identifying,
                                           21 “numerous other disputed proposed jury instructions.” Cloudflare has identified a
                                           22 focused cluster of controlling issues that are both controversial and ripe for
                                           23 appellate review after the Court’s rulings on the parties’ cross-motions for summary
                                           24 judgment. Interlocutory appeal (and perhaps cross-appeals by both parties) of the
                                           25 decisions on the motions, which occurred on a rich and well–developed record, may
                                           26 either end the case without the need for a trial or provide comprehensive and sure-
                                           27 footed guidance to the Court that rests upon the actual facts and evidence in this
                                           28 case. In these circumstances, immediate appeal will benefit the parties.

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                                            1                                             CONCLUSION
                                            2             For the reasons stated above, Cloudflare asks the Court to grant its motion to
                                            3 clarify its March 13 order,2 to amend that order to certify interlocutory appeal, and
                                            4 to stay proceedings pending the receipt of guidance from the Ninth Circuit.
                                            5 Dated: April 9, 2018                                Respectfully submitted,
                                            6                                                     FENWICK & WEST LLP
                                            7                                                     By: /s/ Andrew P. Bridges
                                            8                                                         Andrew P. Bridges
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                                           10                                                     CLOUDFLARE, INC.
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                                               Because ALS did not address Cloudflare’s motion for clarification, Cloudflare
                                           28 need not add more to its argument.

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